Case 2:24-cv-00060-Z         Document 10-2         Filed 04/05/24       Page 1 of 4      PageID 107



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 RUSTY STRICKLAND,                                    )
 ALAN AND AMY WEST FARMS,                             )
                                                      )
 ALAN WEST,                                           )
 AMY WEST,                                            )
                                                      )
 DOUBLE B FARMS, LLC, and                             )
 BRYAN BAKER,                                         )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   ) Case No. 2:24-cv-60-Z
                                                      )
 THE UNITED STATES DEPARTMENT OF                      )
 AGRICULTURE,                                         )
 THOMAS J. VILSACK, in his official capacity          )
 as Secretary of the United States Department of      )
 Agriculture,                                         )
                                                      )
 ZACH DUCHENEAUX, in his official
                                                      )
 capacity as Administrator of the Farm Service
                                                      )
 Agency, and
                                                      )
 THE UNITED STATES OF AMERICA,                        )
        Defendants.                                   )



                               DECLARATION OF ALAN WEST


       I, Alan West, declare the following:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

a matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

have personal knowledge of the facts set forth herein.

       3.      I am fully competent to make this declaration.
Case 2:24-cv-00060-Z        Document 10-2         Filed 04/05/24     Page 2 of 4      PageID 108



         4.    I am a farmer in Lubbock, Texas.

         5.    I am married to Amy West.

         6.    Amy and I own and operate Alan and Amy West Farms as a joint venture, in which

I hold a 52% stake and Amy holds a 48% stake.

         7.    Alan and Amy West Farms grows cotton, wheat, grain sorghum, and hay.

         8.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. For

example, 2022 had thirty-four days with a high temperature over 100 degrees, the second greatest

number of days over 100 degrees on record. In 2022, we received only 1.12 inches of rain in June,

and only 0.20 inches of rain in July. Average rainfall in the months of June and July is around two

inches per month. The 2022 drought was especially damaging to our farm because we had

experienced below-average rainfall in the months prior, leaving us no underground reserve

moisture from which to draw. Weather conditions in 2020 and 2021 in our area also harmed our

crops.

         9.    I am a Non-Hispanic, Caucasian (white) male.

         10.   I am not a “beginning farmer” because I have operated a farm for more than ten

years.

         11.   I am not a “veteran farmer” because I am not a veteran.

         12.   I am not a “limited resource farmer” because our total household income for all

relevant calendar years placed me above the national poverty level for a family of four.

         13.   As a result of my statuses identified above, I do not qualify as an “underserved

farmer or rancher” for purposes of relief programs administered by United States Department of

Agriculture (USDA) to help our farm cope with losses due to the excessive heat and drought we

have experienced in northwest Texas. Furthermore, because my wife owns only 48% of our joint



                                                2
Case 2:24-cv-00060-Z        Document 10-2         Filed 04/05/24      Page 3 of 4      PageID 109



venture, rather than at least 50%, her ownership share is insufficient for USDA to consider our

joint venture “socially disadvantaged.”

       14.     For losses our area suffered from excessive heat and drought, our farm, Alan and

Amy West Farms, applied to USDA under the Emergency Relief Program 2021, Phases 1 and 2,

identifying total eligible losses of $417,547.00. USDA issued Alan and Amy West Farms program

payments totaling $327,774.46.

       15.     For losses our area suffered from excessive heat and drought, our farm, Alan and

Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 1,

identifying an eligible loss of $208,706.00. USDA issued Alan and Amy West Farms a program

payment of $19,402.94.

       16.     The payment USDA issued to Alan and Amy West Farms under the Emergency

Relief Program 2022, Track 1 did not include a refund of federal crop insurance premiums and

fees because USDA does not consider our farm underserved. This was a change from prior years.

       17.     Additionally, in determining the payment Alan and Amy West Farms received

under the Emergency Relief Program 2022, Track 1, USDA applied its newly adopted progressive

factoring, resulting in a substantial reduction in the payment to loss ratio compared to past years.

       18.     This came as a surprise to me. Prior to USDA announcing its progressive factoring

approach, Amy and I created an annual budget based on USDA’s prior payment practices, which

did not include a reduction in payment based on progressive factoring. As a result of USDA using

progressive factoring rather than flat factoring and not refunding our crop insurance premiums,

my wife and I were forced to borrow against our retirement funds to cover the lost funding and

meet our operating budget and loan obligations. We paid an interest rate of 12% to borrow against

our savings. Furthermore, we lacked the necessary operating funds for the 2024 season and had to



                                                 3
Case 2:24-cv-00060-Z         Document 10-2        Filed 04/05/24       Page 4 of 4    PageID 110



use money from our bank line of credit, at an interest rate of 9%. We will be incurring interest on

this line of credit at least until our crops bring a return in September 2024.

       19.     Also, in anticipation of receiving funding based on the historical flat factoring

calculation, Alan and Amy West Farms invested money to upgrade a cotton harvester that it

otherwise would not have upgraded. As a result of the decreased payment, Amy and I were forced

to withdraw over $20,000 from our money market account to make the down payment on the

replacement cotton harvester. We were also forced to postpone trading in two work trucks with

over 240,000 miles on them and trading in one of our tractors.

       20.     For losses our area suffered from excessive heat and drought, our farm, Alan and

Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 2,

identifying an eligible loss of $631,289.01. USDA issued Alan and Amy West Farms a program

payment of $51,096.68.

       21.     Had I not been Caucasian and male, our farm, Alan and Amy West Farm, and I

would not have been denied disaster relief from USDA under the Emergency Relief Program 2021,

Phases 1 and 2, and the Emergency Relief Program 2022, Tracks 1 and 2.

       22.     USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

discriminatory. I am aware that USDA is punishing me because of my race and sex.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.




Dated: ___________                                             _____________________________
                                                               Alan West


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